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                       HEAD KANDY LLC vs KAYLA MCNEILL
                            Dustin McNeill on 07/16/2024

   ·1· · · · · · · · UNITED STATES DISTRICT COURT
   · · · · · · · · · ·SOUTHERN DISTRICT OF FLORIDA
   ·2· · · · · · · · · · · ·FT. LAUDERDALE

   ·3
   · · · · HEAD KANDY LLC,,
   ·4
   · · · · · · · · · Plaintiff,· · · · ·CASE NO.:
   ·5· · · · · · · · · · · · · · · · · ·0:23-cv-60345-JB
   · · · · vs.
   ·6
   · · · · KAYLA MCNEILL,
   ·7
   · · · · · · · · · Defendant.
   ·8
   · · · · ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   ·9

   10· · · · · · · · · · · · DEPOSITION OF

   11· · · · · · · · · · · ·DUSTIN MCNEILL

   12

   13· · · · · · · · · ·Tuesday, July 16, 2024

   14· · · · · · · · · · · · · 9:02 A.M.

   15· · · · · · · · · · · ·Videoconference

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   24· ·Reported By Brandon Roberts, Commission No. W-00601589

   25· · · · · · · · · · · Job No. 00074514


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   ·1· · · · · · · · · ·APPEARANCES OF COUNSEL

   ·2

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   14

   15

   16
   · · ·Also present:
   17
   · · · · ·Kayla McNeil, Defendant
   18· · · ·Gina Gazzaniga
   · · · · ·Rocco Franco, Videographer
   19

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   17· ·Certified Question(s):
   18· ·Page Line
   19· ·142· ·16
   20· ·"And what were you told about the yoga session as of
   21· ·that October 27th or so date?"
   22
   23
   24
   25

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   ·1· ·Now Ms. McNeill's -- has these -- it's -- is a 20
   ·2· ·percent owner, with the other 20 percent owners, or
   ·3· ·other owners of the business, that you -- did she
   ·4· ·discuss with you any aspects of the business with
   ·5· ·regard to strategic direction, different products, how
   ·6· ·the company would -- would -- would change and evolve?
   ·7· · · · A.· ·Not that I recall with any of that.· I was
   ·8· ·so busy running my own businesses at that point in time
   ·9· ·that I don't -- we didn't discuss much.· I mean, I
   10· ·think she discussed most of that with Brian Feldman at
   11· ·that point, because I was a contact.· I wasn't -- the
   12· ·only part at that point that I helped out is if they
   13· ·needed help with moving something, doing something.
   14· ·They were behind on packaging.· I'd go in after I was
   15· ·done doing what I was doing.· Or if it was something
   16· ·during the day, I would stop running my diesel shop to
   17· ·moving some packages or whatever I needed to do at that
   18· ·point.· But I, you know, wasn't in any direction a part
   19· ·of the business or anything at that point.· No, I'm --
   20· ·not that I can recall.
   21· · · · Q.· ·Okay.· When the business was operated by --
   22· ·by Lashed Out, so prior to the sale, and operated out
   23· ·of Colorado, was there any equipment that was used by
   24· ·the business in -- in -- in Colorado, either packaging,
   25· ·equipment, or any warehouse type of equipment, to -- to

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   ·1· ·move boxes, or to pack boxes, anything like that?
   ·2· · · · A.· ·No.· I don't believe so.
   ·3· · · · Q.· ·Okay.· Once the -- after the -- the May 2018
   ·4· ·transaction and then -- do you recall when it was, just
   ·5· ·so we can get a time period, that the warehouse
   ·6· ·operations were moved to North Carolina?
   ·7· · · · A.· ·Some -- that was somewhere around -- that
   ·8· ·could have been about the time I bought that house.· So
   ·9· ·it had to have been May, June, April.· But I don't
   10· ·know.· First -- first part of 2021 is when that went
   11· ·that direction.
   12· · · · Q.· ·Okay.· And did you provide any assistance to
   13· ·help move the warehouse operation from Colorado to
   14· ·North Carolina?
   15· · · · A.· ·Yes.
   16· · · · Q.· ·Okay.· What did you do?
   17· · · · A.· ·Well, we had -- we had to package up a whole
   18· ·warehouse and get it shipped across the country.· So we
   19· ·had to load trucks and move products.· And it was a --
   20· ·it was an undertaking to get stuff from one place to
   21· ·the other, because we -- we did it in a few stages.· We
   22· ·sent some stuff to North Carolina.· And we were out
   23· ·there getting some stuff set up as far as, like, some
   24· ·shipping lines and some stuff like that, so we had some
   25· ·product out there.

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   ·1· ·November 9th, 2021; you see that there?
   ·2· · · · A.· ·I do.· Yep.
   ·3· · · · Q.· ·All right.· Did -- do you -- and over here
   ·4· ·under the buyer, it says "The -- the Nail Dazzle,"
   ·5· ·contact name Kayla McNeill.· Do you know -- what --
   ·6· ·what's The Nail Dazzle?
   ·7· · · · A.· ·I believe that was a business that my wife
   ·8· ·had, we had years and years ago.· I don't know exactly
   ·9· ·when that truthfully was.· That was sometime back, I
   10· ·guess, when we first maybe got married, she had that
   11· ·thing.· She was doing fingernail stuff back then, I
   12· ·believe.· I -- that's so long ago, I don't 100 percent
   13· ·recognize that call, I'm sorry.
   14· · · · Q.· ·Do you know if Ms. McNeill ever ordered
   15· ·parts for any repairs for any of the -- the forklifts
   16· ·that were used for Head Kandy business?
   17· · · · A.· ·That I don't know.· I don't know on that.                I
   18· ·don't think so.· But I don't know.
   19· · · · Q.· ·Did -- did you ever ask Ms. McNeill to order
   20· ·you any parts for forklifts that were used for the Head
   21· ·Kandy business?
   22· · · · A.· ·I don't know if I did or not.· I mean, it
   23· ·could have been something small or little.· I don't --
   24· ·I don't know.· I can't give you a definite answer on a
   25· ·yes or no, if I -- if I did because I don't truthfully

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   ·1· ·know if I asked her to do any of that.
   ·2· · · · Q.· ·Okay.· These -- these parts, do you
   ·3· ·recognize ever having put any of these parts that are
   ·4· ·listed on here into any of the forklifts that were used
   ·5· ·for Head Kandy business?
   ·6· · · · A.· ·I mean, not that I am aware of.
   ·7· · · · Q.· ·Okay.
   ·8· · · · · · ·MR. THOMPSON:· Antonio, did you get that
   ·9· ·exhibit?
   10· · · · · · ·MR. CONVERSE:· Yes.· It was a little
   11· ·delayed, but it came in.
   12· · · · · · ·MR. THOMPSON:· Oh, there it is.· Okay.· I'm
   13· ·going to put up what we'll mark as 3, which you already
   14· ·have, Anthony.· But I'm sending it to -- so Heather has
   15· ·it.
   16· · · · · · ·(EXHIBIT 3 MARKED FOR IDENTIFICATION)
   17· ·BY MR. THOMPSON:
   18· · · · Q.· ·This is the documents that you just produced
   19· ·to me during this deposition.· Do you recognize these
   20· ·documents, sir?
   21· · · · A.· ·Yes.· I do.
   22· · · · Q.· ·Okay.· What are these?
   23· · · · A.· ·Those are the -- the gaskets that I bought
   24· ·for the -- to see if they would work on -- if I was
   25· ·able to use those on those race cars.

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